         Case 24-11685-amc                    Doc
 Fill in this information to identify the case:
                                                          Filed 04/17/25 Entered 04/17/25 08:58:23                             Desc Main
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B 10 (Supplement 2) (12/11) (post publication draft)
 Debtor 1    Hortense  C. Tippett
             __________________________________________________________________

 Debtor 2              ________________________________________________________________
 (Spouse, if filing)

                                         EASTERN
 United States Bankruptcy Court for the: ______________________              PA
                                                                District of __________
                                                                               (State)
 Case number            24-11685-amc
                       ___________________________________________




Official Form 410S2
Notice of Postpetition Mortgage Fees, Expenses, and Charges                                                                                   12/16

                  an provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor's principal residence, you must use this form to give notice of any fees, expenses, and charges incurred after the bankruptcy
filing that you assert are recoverable against the debtor or against the debtor's principal residence.
File this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1.
                   WILMINGTON SAVINGS FUND SOCIETY, FSB, not individually
                   but solely as trustee for FINANCE OF AMERICA
                   STRUCTURED SECURITIES ACQUISITION TRUST 2019-HB1
 Name of creditor: _______________________________________                                                             2
                                                                                           Court claim no. (if known): __________________

 Last 4 digits of any number you use to                   9648
 identify the debtor s account:                           ____ ____ ____ ____

 Does this notice supplement a prior notice of postpetition fees,
 expenses, and charges?
        No
  X                                   6     29 2024
        Yes. Date of the last notice: ____/____/_____


 Part 1:         Itemize Postpetition Fees, Expenses, and Charges

 Itemize the fees, expenses,                                                                                   . Do not include any
 escrow account disbursements or any amounts previously itemized in a notice filed in this case. If the court has previously
 approved an amount, indicate that approval in parentheses after the date the amount was incurred.

       Description                                                        Dates incurred                                            Amount

  1. Late charges                                                         _________________________________                   (1)   $ __________
  2. Non-sufficient funds (NSF) fees                                      _________________________________                   (2)   $ __________
  3. Attorney fees                                                        _________________________________                   (3)   $ __________
  4. Filing fees and court costs                                          _________________________________                   (4)   $ __________
  5. Bankruptcy/Proof of claim fees                                       _________________________________                   (5)   $ __________
  6.                               opinion fees                           _________________________________                   (6)   $ __________
  7. Property inspection fees                                             _________________________________                   (7)   $ __________
                                                                 Tax Advance 12/9/2024 IUPPER DARBY SCHOOL DISTRICT
  8. Tax advances (non-escrow)                                          and_________________________________
                                                                            UPPER DARBY TOWNSHIP                              (8)       7,519.06
                                                                                                                                    $ __________
  9. Insurance advances (non-escrow)
                                                             Insurance Advance 12/09/24 for coverage period 11/13/24-11/13/25
                                                                          _________________________________                   (9)       1,214.36
                                                                                                                                    $ __________
 10. Property preservation expenses. Specify:_______________              _________________________________                  (10)   $ __________
 11. Other. Specify:____________________________________                  _________________________________                  (11)   $ __________
 12. Other. Specify:____________________________________                  _________________________________                  (12)   $ __________
 13. Other. Specify:____________________________________                  _________________________________                  (13)   $ __________
 14. Other. Specify:____________________________________                  _________________________________                  (14)   $ __________


 The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid.
 See 11 U.S.C. § 1322(b)(5) and Bankruptcy Rule 3002.1.


Official Form 410S2                               Notice of Postpetition Mortgage Fees, Expenses, and Charges                                page 1
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Debtor 1
                 Hortense C. Tippett
              _______________________________________________________                                               24-11685-amc
                                                                                            Case number (if known) _____________________________________
              First Name       Middle Name               Last Name




 Part 2:     Sign Here


  The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
  telephone number.
  Check the appropriate box.

       I am the creditor.
   X
       I am the                                      .


  I declare under penalty of perjury that the information provided in this claim is true and correct to the best
  of my knowledge, information, and reasonable belief.

                                                                                                         04/17/25
                           /s/ Andrew M. Lubin
                  __________________________________________________                        Date    ____/_____/________
                  Signature



                    Andrew M. Lubin                                                                 Attorney for creditor
 Print:                                                                                     Title   ___________________________
                  First Name                      Middle Name        Last Name



 Company           McCabe, Weisberg & Conway, LLC
                  _________________________________________________________



 Address           1420 Walnut Street, Suite 1501
                  _________________________________________________________
                  Number                 Street
                   Philadelphia, PA 19102
                  ___________________________________________________
                  City                                               State       ZIP Code




 Contact phone       215 _____
                  (______) 790 _________
                                 1010                                                             ecfmail@mwc-law.com
                                                                                            Email ________________________




Official Form 410S2                                 Notice of Postpetition Mortgage Fees, Expenses, and Charges                                page 2
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                         UNITED STATES BANKRUPTCY COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA
In re:   Hortense C. Tippett               Chapter 13
                                           Bankruptcy No. 24-11685-amc
                      Debtor(s)

WILMINGTON SAVINGS FUND SOCIETY,
FSB, not individually but solely as trustee for
FINANCE OF AMERICA STRUCTURED
SECURITIES ACQUISITION TRUST 2019-
HB1, or its Successor or Assignee
                      Movant
               vs.

Kenneth E. West, Trustee
Hortense C. Tippett
                     Respondent(s)

     CERTIFICATION OF SERVICE OF NOTICE OF POSTPETITION MORTGAGE
                      FEES, EXPENSES, AND CHARGES

         I, Andrew M. Lubin, attorney for WILMINGTON SAVINGS FUND SOCIETY, FSB,
 not individually but solely as trustee for FINANCE OF AMERICA STRUCTURED
 SECURITIES ACQUISITION TRUST 2019-HB1, hereby certify that I served a true and correct
 copy of the foregoing Notice of Postpetition Mortgage Fees, Expenses, and Charges, by United
 States Mail, first class, postage prepaid, and/or electronic means, upon the following:
 Date Served:   04/17/25


 Hortense C. Tippett              Michael A. Cibik, Esquire         Kenneth E. West
 346 Congress Avenue              Cibik & Cataldo                   Office of the Chapter 13
 Lansdowne, Pennsylvania          1500 Walnut Street                Standing Trustee
 19050                            Suite 900                         190 N. Independence Mall
                                  Philadelphia, Pennsylvania        West
 United States Trustee            19102                             Suite 701
 Office of United States          Attorney for Debtor               Philadelphia, Pennsylvania
 Trustee                                                            19106
 Robert N.C. Nix Federal                                            Trustee
 Building
 900 Market Street
 Suite 320
 Philadelphia, PA 19107



                                       /s/ Andrew M. Lubin
                                       MARISA MYERS COHEN, ESQUIRE ID #87830
                                       ANDREW M. LUBIN, ESQUIRE ID # 54297
                                       Attorney for WILMINGTON SAVINGS FUND SOCIETY,
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                             FSB, not individually but solely as trustee for FINANCE
                             OF AMERICA STRUCTURED SECURITIES
                             ACQUISITION TRUST 2019-HB1
                             1420 Walnut Street, Suite 1501
                             Philadelphia, PA 19102
                             Telephone: (215) 790-1010
                             Facsimile: (215) 790-1274
                             Email: ecfmail@mwc-law.com
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